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From:                      Courtney Walter <cwalter@mitchellsandler.com>
Sent:                      Monday, May 15, 2023 10:21 AM
To:                        Kreiter, Maria
Cc:                        Chris McCall; Carolina Blanco; Schifino, John; Scott McLaren; Jewell, Emma
Subject:                   Mutual of Omaha v. Waterstone: Next week's depositions


[EXTERNAL] This message originated from outside your domain.

Maria:

Due to unforeseen personal circumstances, we are no longer able to move forward with the depositions of Dwayne Hutto
and Christopher Smith next week. We apologize for the inconvenience. We are available on June 12-13 or 15-16 to
reschedule. Please let us know if those dates work for you.

Thank you,

Courtney

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